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  4
   Entered on Docket
___________________________________________________________________
   5June 23, 2014

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      Nevada Bar No. 9220
 10   HOLLAND & HART LLP
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 13
      Attorneys for John Beach, Trustee of the
 14   Beach Living Trust dated January 22, 1999
 15                              UNITED STATES BANKRUPTCY COURT
 16                                       DISTRICT OF NEVADA
 17    In re:                                                  Case No.: BK-N-14-50333-btb
                                                               Chapter: 11
 18    ANTHONY THOMAS and WENDI THOMAS
                                                               [Lead Case – Jointly Administered]
 19
             Affects AT EMERALD, LLC                          Case No.: BK-N-14-50331-btb
 20          Affects all Debtors                              Chapter: 11

 21                                                            ORDER GRANTING EX PARTE
                                                               MOTION FOR ORDER
 22                                                            REQUIRING THE PERSON MOST
                                                               KNOWLEDGEABLE OF THE
 23                                                            SARASOTA VAULT TO APPEAR
                                                               FOR EXAMINATION AND TO
 24                                                            PERMIT INSPECTION OF
                                                               TANGIBLE THINGS PURSUANT
 25                                                            TO FED R. BANKR. P. 2004

 26               This Court having reviewed the Ex Parte Motion for an Order Requiring the Person
 27   Most Knowledgeable of the Sarasota Vault to Appear for Examination and to Permit Inspection
 28
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 1   of Tangible Things Pursuant to Fed. R. Bankr. P. 2004 (the “Motion”) submitted by John Beach

 2   (“Beach”), as trustee of the Beach Living Trust dated January 22, 1999 (the “Beach Trust”), and

 3   good cause appearing therefore,

 4               IT IS HEREBY ORDERED that the Motion is GRANTED;

 5               IT IS FURTHER ORDERED that the Person Most Knowledgeable of the Sarasota

 6   Vault shall appear for an examination under oath as to any matter permitted by Fed. R. Bankr. P.

 7   2004, by counsel for the Beach Trust, and other interested parties who appear at Sarasota Vault,

 8   640 South Washington Boulevard, Suite 125, Sarasota, Florida, 34236, on July 10, 2014 at

 9   9:00 a.m. (or at such other mutually agreeable location, date and time) and continuing from day

10   to day thereafter until completion.

11               IT IS SO ORDERED.

12   Respectfully Submitted By:

13   HOLLAND & HART LLP

14          /s/ Joseph G. Went
15   By:_______________________
        Timothy A. Lukas, Esq.
16      Nevada Bar No. 4678
        Joseph G. Went, Esq.
17      Nevada Bar No. 9220
        9555 Hillwood Drive, Second Floor
18      Las Vegas, Nevada, 89134
        Attorneys for John Beach, Trustee of the
19      Beach Living Trust dated January 22, 1999
20

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